Case sree Document 849 Filed ‘oe Page 1 of 1

PROBATION FORM NO. 35
(1/92)

Report and Order Terminating Probation/

Supervised Release

Prior to Original Expiration Date

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LODGED

United States District Court
FOR THE

DISTRICT OF ARIZONA

UNITED STATES OF AMERICA

Vv. Crim.

RUDOLPH JUAN ZAZUETA

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DISTRICT OF ARIZONA

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DEPUTY

No. 4:97CR00162-001-WDB

On _02/12/2007_ the above named was placed on _supervised release, for a period of 5 years. He/she has

complied with the rules and regulations of supervised release and is no longer in need of supervised release. It is

accordingly recommended that he/she be discharged from supervised release.

Respectfully submitted,

Chi

GeorgZanna Adams

U.S. bation Officer

ORDER OF THE COURT

Pursuant to the above report, it is ordered that the defendant is discharged from supervised release and that the

proceedings in the case be terminated.

Dated this 154 day of Ockitw , Zo1d.

“be

WA by

Unitéd States District Judge

The Ast John M. Roll
LC

